
63 N.Y.2d 715 (1984)
In the Matter of Robert E. Flower et al., Respondents,
v.
Antonia D'Apice et al., Constituting the Board of Elections of the County of Westchester, Respondents, and Daniel Sadofsky, Appellant.
Court of Appeals of the State of New York.
Argued September 7, 1984.
Decided September 7, 1984.
Edward T. McCormack for appellant.
Guy T. Parisi for Robert E. Flower and another, respondents.
Concur: Chief Judge COOKE and Judges JASEN, JONES, MEYER, SIMONS and KAYE. Taking no part: Judge WACHTLER.
Order affirmed, without costs, and this court's stay vacated, in the following memorandum: We conclude that the factual determinations made by the Appellate Division more nearly comport with the weight of the evidence.
